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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA                 CRIMINAL ACTION

v.                                       NUMBER 1:24-MJ-284

ERVIN LEE BOLLING,

      Defendant.


                                   ORDER

      For good cause shown, the oral motion by the defendant to continue the

detention hearing is GRANTED. The detention hearing is rescheduled to April 30,

2024, at 10:00 a.m. in courtroom 1810.

      The time from April 23, 2024, to and until April 30, 2024, is excluded from

the Speedy Trial Act computation under 18 U.S.C. §3161.

      IT IS SO ORDERED this 19th day of April, 2024.




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                                     CATHERINE M. SALINAS
                                     United States Magistrate Judge
